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B AKER & H OSTE TLER LLP




                            12                            UNITED STATES BANKRUPTCY COURT
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                                                          NORTHERN DISTRICT OF CALIFORNIA
                            13                                 SAN FRANCISCO DIVISION
                            14   In re:                                             Bankruptcy Case
                                                                                    No. 19-30088 (DM)
                            15   PG&E CORPORATION
                                                                                    Chapter 11
                            16            -and-                                     (Lead Case)
                                                                                    (Jointly Administered)
                            17   PACIFIC GAS AND ELECTRIC
                                 COMPANY,                                           NOTICE OF MOTION OF THE
                            18                       Debtors.                       OFFICIAL COMMITTEE OF TORT
                                                                                    CLAIMANTS FOR ENTRY OF A
                            19   □ Affects PG&E Corporation                         PROTECTIVE ORDER
                            20   □ Affects Pacific Gas and Electric Company         Date:    June 26, 2019
                                                                                    Time:    9:30 a.m. (Pacific Time)
                            21   ■ Affects both Debtors                             Place:   United States Bankruptcy Court
                                                                                             Courtroom 17, 16th Floor
                            22   *All papers shall be filed in the Lead Case,                San Francisco, CA 94102
                                 No. 19-30088 (DM)
                            23                                                      Objection Deadline: June 19, 2019, 4:00
                                                                                                        p.m. (Pacific Time)
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                           Case:
                           Case: 19-30088
                                 19-30088         Doc#
                                                  Doc# 2446
                                                       2421   Filed:
                                                              Filed: 06/07/19
                                                                     06/05/19   Entered:
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                             1          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
                                 Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession
                             2   (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a
                                 voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                             3   Code”) with the United States Bankruptcy Court for the Northern District of California (San
                                 Francisco Division) (the “Bankruptcy Court”).
                             4
                                        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
                             5   June 26, 2019 at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
                                 Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450
                             6   Golden Gate Avenue, San Francisco, California 94102.
                             7         PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for
                                 the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion of the Official
                             8   Committee of Tort Claimants for Entry of a Protective Order, which was filed on June 5, 2019 (the
                                 “Motion”).
                             9
                                          PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion
                            10   must be in writing, filed with the Bankruptcy Court, and served on the counsel for the Official
                                 Committee of Tort Claimants at the above-referenced addresses so as to be received by no later
                            11   than 4:00 p.m. (Pacific Time) on June 19, 2019. Any oppositions or responses must be filed and
                                 served on all “Standard Parties” as defined in, and in accordance with, the Second Amended Order
B AKER & H OSTE TLER LLP




                            12   Implementing Certain Notice and Case Management Procedures entered on May 14, 2019 (ECF
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                                 No. 1996) (the “Case Management Order”). Any relief requested in the Motion may be
                            13   granted without a hearing if no opposition is timely filed and served in accordance with the
                                 Case Management Order. In deciding the Motion, the Court may consider any other document
                            14   filed in these Chapter 11 Cases and related Adversary Proceedings.
                            15           PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
                                 can be viewed and/or obtained:                 (i) by accessing the Court’s website at
                            16   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
                                 Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
                            17   Clerk LLC, at http://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
                                 U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:
                            18   pginfo@primeclerk.com. Note that a PACER password is needed to access documents on the
                                 Bankruptcy Court’s website.
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                            21    Dated: June 5, 2019                                 BAKER & HOSTETLER LLP

                            22                                                        By: /s/ Robert Julian

                            23                                                        Counsel for The Official Committee of Tort
                                                                                      Claimants
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                           Case:
                           Case: 19-30088
                                 19-30088     Doc#
                                              Doc# 2446
                                                   2421      Filed:
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